AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                               District of Alaska

              ANNE PATRICIA MULLIGAN                                   )
                             Plaintiff                                 )
                                v.                                     )       Civil Action No. 3:19-cv-00113-RRB
                      AWAIC SHELTER                                    )
                            Defendant                                  )

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

☐ the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                               the amount of
                                                                        dollars ($                 ), which includes prejudgment
interest at the rate of                  %, plus post judgment interest at the rate of           % per annum, along with costs.

☐ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                          recover costs from the plaintiff (name)
                                                  .

☒ other: This case is dismissed.

                                                                                                                                   .

This action was (check one):

☐ tried by a jury with Judge                                                                        presiding, and the jury has
rendered a verdict.

☐ tried by Judge                                                                    without a jury and the above decision
was reached.

☒ decided by Judge                                     Ralph R. Beistline                     upon review of case.

                                                                                                                                   .

APPROVED:

s/Ralph R. Beistline
Ralph R. Beistline
United States District Judge
                                                                                             Lesley K. Allen
Date: June 18, 2019                                                                          Lesley K. Allen
                                                                                              Clerk of Court
Note: Award of prejudgment interest, costs and attorney's fees are
governed by D.Ak. LR 54.1, 54.3, and 58.1.




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